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STATE OF ILLINOIS _)
)SS:
COUNTY OF COOK )

AFFIDAVIT OF COUNSEL
THOMAS ANTHONY DURKIN, being first duly sworn upon oath, states as follows:
1. I am an attorney and partner in the law firm of Durkin & Roberts, with offices at
515 Arlington Place, Chicago, Illinois 60614; telephone: (312) 981-0123, and facsimile: (312)
913-9235. My email address is: tdurkin@durkinroberts.com.

2. ] am admitted to practice and currently in good standing before the following courts

since the approximate respective dates:

a) Supreme Court of California—Bar No, 56929, admitted 1973;

b) Supreme Court of Illinois—Bar No. 0697966, admitted 1974;

c) Supreme Court of Indiana—Bar No. 11864-46, admitted 1987;

d) Supreme Court of New York—Bar No. 5492111, admitted 2017;

e) Supreme Court of the United States—2003;

f) United States Court of Appeals for the Seventh Circuit—1974;

g) United States Court of Appeals for the Ninth Circuit—1975;

h) United States Court of Appeals for the Fifth Circuit—2004;

i) United States Court of Appeals for the Sixth Circuit—2007;

j) United States Court of Appeals for the District of Columbia Circuit—2007;
k) United States District Court for the Northern District of Illinois—1974,

1 United States District Court for the Northern District of California—1975;
m) United States District Court for the Northern District of Indiana—1987;

n) United States District Court for the Eastern District of Wisconsin—1988;
0) United States District Court for the Central District of Illinois—1992;

p) United States District Court for the Western District of Michigan—1995,
q) United States District Court for the Central District of California—2007;
r) United States District Court for the Southern District of California—2011;
s) United States District Court for the Southern District of Illinois—2017,

t) United States District Court for the Southern District of South Dakota—2017; and,
u) United States District Court for the Southern District of New York—2019.

3, I served as an Assistant United States Attorney for the Northern District of Illinois
from April 1978 to March of 1984, and since then have limited my practice to the representation

of clients in federal and state court criminal matters within the Northern District of Illinois and

elsewhere.
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4, I was appointed as a Distinguished Practitioner in Residence at the Loyola
University Chicago School of Law in 2013, where I also serve as Co-Founder and Co-Director of
its National Security and Civil Rights Program. I am also a Senior Research Fellow at the Center
on National Security at Fordham Law School in New York City. I am also a Fellow of the
American College of Trial Lawyers.

5. I have previously been granted leave to appear pro hac vice in criminal cases before
the United States District Court of the Northern District of Ohio, the United States District Courts
for the Norther District of Alabama, the District of Arizona, the Southern District of Florida, the
District of Montana, the Southern and Eastern Districts of New York, the Southern District of
Texas, the Eastern District of Virginia; as well as the Circuit or District Courts of Lawrence
County, Arkansas, Imperial Polk County, Florida, and Berrien County, Michigan.

6. I have never been disbarred or suspended from practice before any court,
department, bureau or commission of any State or the United States; nor have I received any
reprimand from any such court, department, bureau or commission pertaining to conduct or fitness
as a member of the bar.

7, I agree to abide by any and all local rules of this Court, and promise to comport

Rept full Le sub spiel

/s/ Thomas A
THOMAS ANTHONY DURKIN

myself in a professional manner at all times.

Subscribed and Sworn Before Me
This /3*"Day of January, 2020.

SOX Kip Lut

: Janis D. Roberts, Notary Public

 
 
 

  
 

Janis D. Roberts
NOTARY PUBLIC, STATE OF ILLINOIS
My Commission Expires May 21, 2020

 

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